    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 1 of 13




BLANK ROME LLP
Cheryl S. Chang (SBN 237098)
Cheryl.Chang@BlankRome.com
Jessica A. McElroy (SBN 299919)
Jessica.McElroy@BlankRome.com
2029 Century Park East, 6th Floor
Los Angeles, CA 90067
Telephone: 424.239.3400
Facsimile: 424.239.3434

Attorneys for Specially Appearing Defendants,
DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE OF THE
INDYMAC INDA MORTGAGE LOAN TRUST 2007-AR2, MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2007-AR2; PHH MORTGAGE
CORPORATION; PHH MORTGAGE SERVICES; AND WESTERN
PROGRESSIVE TRUSTEE, LLC D/B/A WESTERN PROGRESSIVE, LLC


                      UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
RAMON FUENTES,                             Case No. 5:22-cv-04953-BLF
                         Plaintiff,        JOINT CASE MANAGEMENT
                                           STATEMENT
      vs.
                                Case Management Conference:
DEUTSCHE BANK NATIONAL TRUST Date:       January 5, 2023
COMPANY AS TRUSTEE FOR          Time:    11:00 a.m.
INDYMAC INDA MORTGAGE LOAN Place:        Courtroom 1 – 5th Floor
TRUST 2007-AR2, MORTGAGE PASS-           280 South 1st St.
THROUGH CERTIFICATES SERIES              San Jose, CA 95113
2007-AR2, PHH MORTGAGE
CORPORATION, PHH MORTGAGE       Complaint Filed: August 31, 2022
SERVICES, WESTERN PROGRESSIVE,
LLC, AND WESTERN PROGRESSIVE,
LLC AS TRUSTEE FOR BENEFICIARY,
                         Defendants.




4096119999.00238/129734617v.2          1
                         JOINT CASE MANAGEMENT STATEMENT
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 2 of 13




        The parties to the above-entitled action, including plaintiff Ramon Fuentes
(“Ramon”) and specially appearing defendants Deutsche Bank National Trust
Company, as Trustee of the IndyMac INDA Mortgage Loan Trust 2007-AR2,
Mortgage Pass-Through Certificates, Series 2007-AR2 (“DBNTC”), PHH Mortgage
Corporation (“PHH Mortgage”), PHH Mortgage Services (“PHH Mortgage
Services”), and Western Progressive Trustee, LLC d/b/a Western Progressive, LLC
(“Western Progressive,” with DBTNC, PHH Mortgage, and PHH Mortgage Services,
collectively, “Defendants”),1 jointly submit this Joint Case Management Statement
pursuant to the Court’s Order for All Judges of the Northern District of California and
Civil Local Rule 16-9, and the Court’s text-only Order entered on September 6, 2022
(ROA 10), requiring all parties to submit this Joint Case Management Statement by
December 29, 2022.
Jurisdiction & Service
        Defendants do not consent to jurisdiction and have filed a motion pursuant to
Federal Rules of Civil Procedure 12(b)(4), (5) to quash the summons and service of
the summons (“Motion to Quash”) and the Complaint (“Complaint”) of Plaintiff on
the grounds of insufficient process and insufficient service of process. See ROA 13.
The Motion to Quash is fully briefed as of October 31, 2022. See ROA 17.
Facts
Plaintiff: This is being submitted on defendant's format with all rights reserved by the
Plaintiff. The Cause of action at bar is a Complaint for Preliminary Injunction
and to Quiet Title via Federal Rule 65(b) et. Seq. against the Defendant(s)
related to a then upcoming Notice of Trustee’s Sale, scheduled at that time to
occur August 30, 2022. The Defendant(s) have committed numerous offenses
claiming standing by reason of a false chain of title transfer and/or a false
assignment of the Note and/or Deed of Trust from the original Lender on down
This cause of action was brought pursuant to Rule 65(b) and also 42 U.S.C. §

1 Defendants do not consent to consent to jurisdiction in this matter and reiterate the
arguments raised in their pending Motion to Quash, ROA 13.
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 3 of 13




1983, based on Defendants’ deprivation of the constitutional rights of Plaintiffs
under the Fifth and Fourteenth Amendments to the United States Constitution,
Etc..This U.S. District Court has equitable jurisdiction over this cause of action
by reason of its ability to enforce federal regulation breaches and to penalize
Assignment and/or Servicing breaches identified as Notice(s) of Error against
Defendant Banker(s) and/or Servicer(s) under 12 CFR § 1024.35(a) and 12 CFR
§ 1024.35(b) of the Federal Regulations.
      The plaintiff has attempted to record his Notice of Intent, Affidavit of
Secured Interest within the last (2) weeks into the Registrar's Office and was
blocked from doing so. The plaintiff was told he needed a Court Order to record
the document. The plaintiff immediately filed a Motion in the Bankrutpcy
Adversarial Complaint case for such an Order to record his Notice of Intent,
Affidavit of Secured Interest, and it was not ruled on by the presiding Chapter
(13) Bankruptcy Judge. Thus no Order issued to permit the plaintiff to record his
'secured' interest for the tens of thousands of dollars he has invested by labor and
toil with his wife into the mortgage payments over the many years the plaintiff
has had the house at bar. A Trespass upon the Civil Rights Deprivation of NOT
ruling to admit or deny, grant or deny, the recordation of the plaintiff's Notice of
Intent, Affidavit of Secured Interest is now an Obstruction of Justice claim , as
the Notice of Intent, Affidavit of Secured Interest approved in wording by
California statue authoirty is a 'claim for which relief can be granted' when
registered locally, When not registered locally it would tend to give the opposition
a tactical advantage that is not in accordance 'with 'equal protection of the law '
mandates in our justice system. In the State Court the plaintiff was wrongly
made a vexatious litigator without the mandated separate cause of action trial
being commenced to litigate the vexatious label placement under California law.
Defendants:
      Plaintiff has filed numerous lawsuits against Defendants and has been declared
a vexatious litigant by the State of California. Plaintiff filed the Complaint after the

4096119999.00238/129734617v.2         3
                         JOINT CASE MANAGEMENT STATEMENT
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 4 of 13




Bankruptcy Court for the Northern District of California dismissed his adversary
proceeding against Defendants (Plaintiff has appealed the dismissal and the matter is
proceeding before the Bankruptcy Appellate Panel).
      On August 30, 2022, Plaintiff initiated the instant action against Defendants by
filing his “Complaint for Emergency Temporary Injunction and Quiet Title.” See Dkt.
No. 1. Also on August 30, 2022, the Court issued a Summons, purportedly directed to
“Blank Rome/Jessica McElroy, Attorney for” DBNTC. See Dkt. No. 2. Additionally,
on August 30, 2022, Plaintiff emailed counsel for Defendants a six page “scanned
document,” which looks to include face pages of various documents filed with the
Court, but does not include the entire Complaint. On September 28, 2022, Plaintiff
filed a proof of service (“Proof of Service”) in this matter, indicating that a server by
the name of Susan Gole (“Gole”) had served the summons on the “receptionist” of
DBNTC.
      Defendants maintain that the summons issued to counsel is improper and that
they were not properly served in this action. Defendants additionally maintain that
Plaintiff is attempting and end-run around his designation as a vexatious litigant in
California State Court and deny that Plaintiff is entitled to any relief.
Legal Issues
Plaintiff:
a. Original Contract with the signatures of both the alleged borrower, and the
lender have never been filed in court to verify there was a bilateral contract.
b. Without a certification of the accounting entries of the attorneys cannot verify
there was a debt.
c. The attorney cannot verify agency and therefore the foreclosure lawsuit has a
fatal flaw.
d. The foreclosure was filed showing the lender as the plaintiff, however no one
from the lender’s corporation signed the foreclosure documents.
e. There is no witness before the court to give the court jurisdiction.
f. There is No Affidavit filed in the case to give the state court jurisdiction.
     Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 5 of 13




The defendant(s) did not make a special appearance until recently.
The defendant(s) were served and have responded to the Complaint at bar.
A Show Cause hearing has never been held on the facts in the latest forensic audit
as conducted by Detective Bill Paatalo who was hired by the plaintiff to perform
the audit, Id.
    While the Defendant(s) have the indirect benefit of the Plaintiff not getting
his Notice of Intent, Affidavit of Secured Interst filed, despite quoting the
California law to do so, the Plaintiff has to fight off a Notice of Trustee Sale due
to the obstruction of justice, refusal of the local registrar to record plaintiff's 5 th
amendment claim to just compensation for all he invested in his house and land
over the many years there.

      The Notice of Intent, Affidavit of Secured Interest, as submitted for recording
shows reference to Senate Document (43) from the year 1933 which shows the
government owns the land at bar, and that the plaintiff is merely a user of the property
he has to keep in good shape fot the Lender. However, the Defendnat(s) in all their
foreclosure related attempts to seize the Plaintiff's hoe and land violated F.R. Civ. Proc
17 in not have the real party in interest, the federal govt., file an appearance into their
foreclosure case(s), which means the foreclosure, Notice of Trustee Sale, Etc. Process
is voidable and void for want of the appearance of the real party in interest filing its
claim and making an appearance. It is of no small importance that in the USDC for
Akron, Ohio in Case 5:21-cv-02263, Federal Judge John R. Adams recognized Senate
Document 43 as being applicable for that pro se litigators Motion for Extension to get
his Notice of Appeal into the Sixth Circuit Court of Appeals in Cincinnati, Ohio. The
Motion for extension was granted by Judge Adams.
 The Defendant(s) have not filed their own forensic audit. The Defendant(s) have not
filed notice to the court(s) that the u.s. Government is the holder of all the land in the
(50) states by reason of the Bankruptcy of 1933. A pro se plaintiff is doing a better job
defending the u.s. Govt.'s interest in his land, than the attorneys who are officers of the

4096119999.00238/129734617v.2           5
                           JOINT CASE MANAGEMENT STATEMENT
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 6 of 13




court. The defense used by the defendant(s) to silence the plaintiff is the vexatious
label, and it has been applied maliciously.
Defendants:
      Defendants maintain that the summons issued to counsel is improper and that
they were not properly served in this action. Defendants additionally maintain that
Plaintiff is attempting and end-run around his designation as a vexatious litigant in
California State Court and deny that Plaintiff is entitled to any relief. Defendants have
only specially appeared in this matter for purposes of filing the Motion to Quash,
which is currently pending before the Court. Thus, the Court will have to determine
(1) whether the summons is proper, and (2) whether Defendants have been properly
served.
Motions
Plaintiff: Plaintiff filed a Response to the Motion to Quash by the Defendants on
October 18, 2022.


Defendants:
      Currently pending before the Court is Defendants’ Motion to Quash. ROA, 13.
Amendment of Pleadings
Plaintiff: Plaintiff has not filed an Amended Complaint as service has occurred
upon the Defendant(s) at this time. It is a false statement by the Defendant(s) that
only the complaint is a pleading on record. (see) above. Defendant(s) did not file a
response to the Plaintiff's Reply to the Defendant(s) Motino to Quash, they
merely filed a Memorandum of Points and Authorities as realted to their Motion
to Quash on October 31, 2022. Apparently the Defendant(s) have not read the
docket of this case and its filings over time.


Defendants:
      The Complaint is the only pleading of record as of the time of this statement.
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 7 of 13




Evidence Preservation
Plaintiff: The plaintiff asserts that the Defendant(s) who filed a
Creditor Claim(s) in the Bankruptcy Chapter 13 case, supra., filed False
Claim(s).
         As related to Title 11 USC Section 502(b)(1), it says in part and provides

that a court "shall allow" a claim, proof of which has been filed, "except to the
extent that ... such claim is unenforceable against the debtor ... under any ...
applicable law...." 11 U.S.C. Sec.502(b)(1) according to the 9 th circuit In re
Johnson, (1985) case; 756 F.2d 738.

         Judge Hammond in the Division (5) Bankruptcy court for this area of
Northern California exceeded the 9th Circuit decision she quoted in a session
which did not include ruling on a claim that is unenforceable as explained within
In Re: Johnson, Supra.

         Additionally no merit was given to the RESPA violations asserted by the
Debtor in session with Judge Hammond. And, the bankruptcy trustee argued
prima facie evidence by registering a Claim reigns supreme when it does not take
on such a position in light of the forensic audit acquired by the Debtor and
offered into evidence under F.R. Evid 102, but blocked by the Bankruptcy, Id.,
court.
         Due process of law in a current Appellate B.A.P,. case has to take effect
toward a summary ruling before any Sale can occur on the property at bar. The
B.A.P. Case has reigning jurisdiction. Attempts to override the B.,A.P. Court
would be contemptuous as by the Defendant(s) in a rush to attempt a Sale of the
real property involved herein.

         Federal Rules of Evidence 102 is applicable in this case at bar and it should be
noted that the Forensic Audit is lengthy and comprehensive proving the chain of title
is Fabricated in order to permit The Bank lawyer(s), etc. to obtain a Sale.

4096119999.00238/129734617v.2           7
                           JOINT CASE MANAGEMENT STATEMENT
     Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 8 of 13




      Substandard servicing of the Note and/or Deed of Trust led to a Defacto
Notice of Trustee Sale scheduled for August 30, 2022.. Act(s) of Deception by the
Defendant(s) have placed an enormous amount of stress on the plaintiff(s). The
claims, assertions, and legal arguments of the plaintiff(s) go to show that a
Temporary Injunction is a remedy available to them for the Misconduct,
Malfeasance of Office, and Negligence, Etc. Defendant(s) have committed Acts of
Deception in their indirect or direct claim that a lawful chain of assignment(s) on
the note and/or Deed of Trust exists.. Defendant(s) lack standing to have arrived
at the position of a Bank or Servicer in possession of the note and/or deed of trust
or as a Landlord that can lawfully evict the plaintiff(s).
Defendants:
      Defendants have reviewed the Guidelines Relating to the Discovery of
Electronically Stored Information (“ESI Guidelines”). Because Plaintiff is proceeding
in pro per and Defendants have only specially appeared in this matter, the Parties have
not met and conferred pursuant to FED. R. CIV. P. 26(f) regarding reasonable and
proportionate steps taken to preserve evidence relevant to the issues reasonably
evident in this action.
Disclosures
Plaintiff: Defendant(s) are on record in the State Court for not arranging a final
meet and confer, which was heavily claimed by the defendant in the State
Foreclosure court, this Plaintiff, to have been a tactical strategy by Attorney
Jessica McElroy, to gain a tactical advantage toward a rush to judgment against
the defendant(s) Fuentes husband and wife illegally.


Defendants:
      Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 9 of 13




13. Defendants maintain that initial disclosures should not be required unless and
until the Court issues a ruling denying the Motion to Quash.
Discovery
Plaintiff: Discovery has persistently been avoided by the Defendant(s) at every
level of every case related to this Notice of Trustee Sale issue(s). Plausible denial,
Fabrication of Evidence, Obstruction of Evidence, Suppression of Evidence have
all been tactics used by the Defendant(s) repeatedly as against this Plaintiff.


Defendants:
         Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13. Defendants maintain that discovery should be stayed unless and until the Court
issues a ruling denying the Motion to Quash.
Class Actions
         This is not a class action.
Related Cases
         Fuentes v. Deutsche Bank National Trust Company, Case No. 22-1158,
currently pending before the U.S. Bankruptcy Appellate Panel for the Ninth Circuit.
Relief
Plaintiff: The Plaintiff(s) request the Defendant(s) be Immediately or Temporarily
Enjoined from further action(s) which are leading to a prospective sale and
Eviction of the Plaintiff(s) from the property at bar at this time. Irreparable
harm will come to Plaintiff(s) if this Injunction of some form is not immediately
granted.


Defendants:
         Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
4096119999.00238/129734617v.2          9
                             JOINT CASE MANAGEMENT STATEMENT
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 10 of 13




13. Defendants deny that Plaintiff is entitled to any relief whatsoever. As the Court
noted in its September 2, 2022 Order Denying Motion for an Emergency Temporary
Restraining Order (“TRO Order”) (ROA 9), Plaintiff has not shown a likelihood of
success on the merits.
Settlement and ADR
Plaintiff: The Defendant(s) defaulted intentionally on comprehensive privately
served Arbitration documents obtained by the Plaintiff(s) to prove there was
never any standing by the foreclosing party(s) to go after Plaintiff's home. The
Plaintiff would approve a mediator is appinted by the court to conduct a
comprehensive review of the Plaintiff(s) claims and documents as from
Aribtration specialists and from Detective William Paatalo , the forensic auditor,
to save this court its precious time.


Defendants:
      Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13. Defendants do not agree to ADR at this time.
Consent to Magistrate Judge For All Purposes
      Whether all parties will consent to have a magistrate judge conduct all further
proceedings including trial and entry of judgment. _______ YES ______X_____NO.
Plaintiff: Plaintiff gives his consent for a Magistrate.


Defendants:
      Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13. Defendants decline to magistrate judge jurisdiction in this matter.
      Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 11 of 13




Other References
        The Parties do not believe that this case is suitable for reference to binding
arbitration or for reference to the Judicial Panel on Multidistrict Litigation.
Narrowing of Issues
Plaintiff: Again Arbitration is favorable to this Plainitff if it is from Court Order
and governed by Court process(es).


Defendants:
        Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13.     The issues in this case will presumably be resolved if the Court grants
Defendants’ Motion to Quash, ROA 13.
Expedited Trial Procedure
        The Parties do not believe that this is the type of case that can be handled on an
expedited basis with streamlined procedures.
Scheduling
Plaintiff: The Plainitff agrees that streamlined procedures would not fit this case.


Defendants:
        Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13. Thus, Defendants’ position is that a scheduling order should not be issued at this
time.
Trial
Plaintiff: A trial would be acceptable to this Plaintiff.


Defendants:


4096119999.00238/129734617v.2          11
                           JOINT CASE MANAGEMENT STATEMENT
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 12 of 13




        Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13. Thus, Defendants’ position is that a trial date should not be issued at this time.
Defendants would not request a jury trial.
Disclosure of Non-party Interested Entities or Persons
        At this time, this area is reserved to be subject to an amendment by
Plaintiff.
Professional Conduct
Plaintiff: Plaintiff wants to call forward Detective Paatalo who in the past has
agreed to testify.


Defendants:
        Defendants have only specially appeared in this matter as they are challenging
the summons and service of the Complaint, as outlined in the Motion to Quash, ROA
13. Defendants’ attorneys of record have reviewed the Guidelines for Professional
Conduct for the Northern District of California.
Other
        The Parties are not presently aware of any other matters at this time conducive
to the just, speedy and inexpensive disposition of this matter.


DATED: December 29, 2022           BLANK ROME LLP
                                   BY:

                                   Cheryl S. Chang (SBN 237098)
                                   Cheryl.Chang@BlankRome.com
                                   Jessica A. McElroy (SBN 299919)
                                   Jessica.McElroy@BlankRome.com
                                   Attorneys for Defendants,
                                   DEUTSCHE BANK NATIONAL TRUST
                                   COMPANY, AS TRUSTEE OF THE INDYMAC
                                   INDA MORTGAGE LOAN TRUST 2007-AR2,
    Case 5:22-cv-04953-BLF Document 22 Filed 01/02/23 Page 13 of 13




                                 MORTGAGE PASS-THROUGH
                                 CERTIFICATES, SERIES 2007-AR2; PHH
                                 MORTGAGE CORPORATION; PHH
                                 MORTGAGE SERVICES; AND WESTERN
                                 PROGRESSIVE TRUSTEE, LLC D/B/A
                                 WESTERN PROGRESSIVE, LLC




4096119999.00238/129734617v.2      13
                         JOINT CASE MANAGEMENT STATEMENT
